              Case: 23-3371    Document: 3         Filed: 12/20/2023    Pages: 6


                                         No. 23-3371

                                     IN THE
                         UNITED STATES COURT OF APPEALS
                            FOR THE SEVENTH CIRCUIT

    JANIAH MONROE, MARILYN                     )   Appeal from the United States
    MELENDEZ, LYDIA HELENA                     )   District Court for the Southern
    VISION, SORA KUYKENDALL, and               )   District of Illinois
    SASHA REED, individually and on            )
    behalf of a class of similarly situated    )
    individuals,                               )
                                               )
          Plaintiffs-Appellees,                )   No. 3:18-cv-00156-NJR
                                               )
    v.                                         )
                                               )
    STEVEN BOWMAN, MELVIN                      )
    HINTON, and LATOYA HUGHES,                 )   The Honorable
                                               )   NANCY J. ROSENSTENGEL,
          Defendants-Appellants.               )   Chief Judge Presiding.

                               DOCKETING STATEMENT

         Defendants-Appellants Steven Bowman, Melvin Hinton, and Latoya Hughes

submit this docketing statement as required by 7th Cir. R. 3(c).

         1.      On January 31, 2018, Plaintiffs-Appellees Janiah Monroe, Marilyn

Melendez, Lydia Helena Vision, Sora Kuykendall, and Sasha Reed — transgender

women in the custody of the Illinois Department of Corrections (“Department”) —

filed a complaint in the district court under 42 U.S.C. § 1983 on behalf of a putative

class of inmates who requested evaluation or treatment for gender dysphoria. Doc.

1.1 They claimed that defendants — Department officials sued in their official



1
  Although Ebony Stamps was a named plaintiff in the complaint, see Doc. 1, she was
later dismissed from the case because she was no longer in the Department’s custody,
           Case: 23-3371    Document: 3          Filed: 12/20/2023    Pages: 6


capacities — violated their rights under the Eighth Amendment to the United States

Constitution and sought declaratory and injunctive relief. Id. at 36-38; see Text Or.

2/1/18 (screening order).2 The district court had subject matter jurisdiction over

plaintiffs’ action under 28 U.S.C. § 1331 because it raised a federal question.

      2.      The district court temporarily referred the matter to a magistrate judge

to conduct certain pretrial proceedings under 28 U.S.C. § 636(b). See Text Or. 2/1/18

(referring case); Text Or. 12/4/19 (ending referral).

      3.      On December 19, 2019, the district court entered a preliminary

injunction. Docs. 186-87. On March 4, 2020, the court vacated that injunction and

entered an amended preliminary injunction. Docs. 211-12.

      4.      Also on March 4, 2020, the district court certified a class under Fed. R.

Civ. P. 23(b)(2) consisting of “all prisoners in the custody of [the Department] who

have requested evaluation or treatment for gender dysphoria.” Doc. 213.

      5.      The district court conducted a four-day trial from August 2 through

August 5, 2021. See Docs. 319-28, 334, 347-49, 353-54. The court made preliminary

findings of fact and conclusions of law from the bench at the close of that proceeding.

Doc. 334 at 972-92. On August 9, 2021, the court issued an order memorializing its

preliminary findings and conclusions, Doc. 331, and entered a preliminary injunction



Doc. 213 at 1.

2
  Although the Governor of Illinois was a named defendant in the complaint, see Doc.
1, the district court later dismissed the claim against him with prejudice, Doc. 97. In
addition, the identity of the Department Directors changed during the litigation, and
the new Directors were substituted pursuant to Fed. R. Civ. P. 25(d).


                                            2
           Case: 23-3371    Document: 3         Filed: 12/20/2023     Pages: 6


that was “in addition to the previous preliminary injunction” it had entered in March

2020, Doc. 332; see Docs. 212 (March 2020 preliminary injunction), 336 (correcting

August 2021 preliminary injunction).

      6.      On December 13, 2021, the district court entered an order notifying the

parties of its intent to appoint a monitor “to oversee Defendants’ compliance with the

Court’s preliminary injunctions.” Doc. 370 (citing Docs. 212, 332, 336).

      7.      On February 7, 2022, the district court issued an order, setting forth

additional findings of fact and conclusions of law based on the evidence presented at

the August 2021 trial and subsequent briefing. Doc. 383. The court also entered a

preliminary injunction that “incorporate[d] the preliminary injunctive relief” it had

previously ordered and provided additional relief. Doc. 384 (citing Docs. 186, 212,

332, 336).

      8.      On April 5 and May 10, 2022, the district court appointed two co-

monitors “to oversee and advise the Court and the parties regarding Defendants’

compliance with the Court’s Preliminary Injunctions.” Docs. 418, 423 (citing Docs.

212, 332, 336, 384).

      9.      On November 14, 2022, plaintiffs filed a motion for contempt, asking

the court to set an in-person hearing, find defendants in civil contempt for failing to

comply with the court’s injunction orders, and “modify the preliminary injunctions to

add short deadlines for Defendants’ compliance and reporting.” Doc. 455.

      10.     On January 24, April 4, and May 11, 2023, the district court entered

orders requiring defendants to take certain actions regarding the relief provided in


                                           3
         Case: 23-3371      Document: 3            Filed: 12/20/2023   Pages: 6


the preliminary injunctions, while stating that plaintiffs’ contempt motion remained

under advisement. Docs. 522, 552, 584.

      11.    On May 31, 2023, defendants moved to vacate those orders — Docs. 522,

552, 584 — under Fed. R. Civ. P. 60(b) and 18 U.S.C. § 3626, contending that they all

purported to enforce preliminary injunctions that had automatically expired months

and years earlier. Doc. 587.

      12.    On November 16, 2023, the district court entered an order denying

defendants’ motion to vacate, while granting in part and denying in part plaintiffs’

motion for contempt. Doc. 678. In the order, the court also directed the clerk’s office

“to modify the docket text for the [February 2022] injunction to read ‘PERMANENT

INJUNCTION (to be interpreted in accordance with the Court’s Order at Doc. 678)’”

and to enter judgment for plaintiffs. Id. at 26.

      13.    That same day, a judgment order was entered on the district court

docket under Fed. R. Civ. P. 58, stating that judgment was entered in plaintiffs’ favor

“pursuant to the Order entered on February 7, 2022,” and granting “permanent

injunctive relief,” as outlined therein. Doc. 679. The judgment thus resolved all

claims against all parties, and no motion to alter or amend the judgment was filed.

      14.    On December 14, 2023, defendants filed a notice of appeal from the

judgment that was entered on November 16, 2023. Doc. 699. The notice of appeal

was timely under 28 U.S.C. § 2107(a) and Fed. R. App. P. 4(a)(1)(A) because it was

filed within 30 days of the judgment’s entry. This court has jurisdiction over this

appeal from a final judgment of the district court under 28 U.S.C. § 1291.


                                           4
Case: 23-3371   Document: 3          Filed: 12/20/2023      Pages: 6




                                  Respectfully submitted,

                                  KWAME RAOUL
                                  Attorney General
                                  State of Illinois

                         By: /s/ Frank H. Bieszczat
                             FRANK H. BIESZCZAT
                             Assistant Attorney General
                             115 South LaSalle Street
                             23rd Floor
                             Chicago, Illinois 60603
                             (312) 814-2090 (office)
                             (773) 590-7075 (cell)
                             Frank.Bieszczat@ilag.gov




                              5
         Case: 23-3371     Document: 3         Filed: 12/20/2023     Pages: 6


                  CERTIFICATE OF FILING AND SERVICE

      I certify that on December 20, 2023, I electronically filed the foregoing

Docketing Statement with the Clerk of the Court for the United States Court of

Appeals for the Seventh Circuit by using the CM/ECF system.

      I further certify that one of the other participants in this case, named below,

is a registered CM/ECF user and will be served via the CM/ECF system.

      Amelia Bailey
      amelia.bailey@kirkland.com

      I further certify that the other participants in this case, named below, are not

registered CM/ECF users and were served by attaching a copy to an email that was

sent to the email addresses indicated below on December 20, 2023.

      Camille E. Bennett                      Michelle T. Garcia
      cbennett@aclu-il.org                    mgarcia@aclu-il.org

      Abby L. Parsons                         Mason Strand
      aparsons@kslaw.com                      mstrand@aclu-il.org

                                            /s/ Frank H. Bieszczat
                                            FRANK H. BIESZCZAT
                                            Assistant Attorney General
                                            115 South LaSalle Street
                                            23rd Floor
                                            Chicago, Illinois 60603
                                            (312) 814-2090 (office)
                                            (773) 590-7075 (cell)
                                            Frank.Bieszczat@ilag.gov
